        Case 1:20-cv-01519-TNM Document 29-2 Filed 07/13/20 Page 1 of 4




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 RICH PENKOSKI, et al.,

                  Plaintiffs,

            v.                                          Civil Action No. 20-1519 (TNM)

 MURIEL BOWSER,

                  Defendant.


           DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL
       FACTS IN SUPPORT OF CROSS-MOTION FOR SUMMARY JUDGMENT

       Defendant Mayor Muriel Bowser submits the following statement of undisputed material

facts under LCvR 7(h)(1):

       1.        Because of the COVID-19 pandemic, Mayor Muriel Bowser issued a stay-at-home

order on March 30, 2020 requiring individuals to stay in their places of residence except in limited

circumstances, such as for certain essential activities. Mayor’s Order 2020-054 (Mar. 30, 2020).

       2.        On May 27, 2020, Mayor Bowser issued an order lifting her prior stay-at-home

order effective May 29, 2020, but leaving in place its restrictions for large gatherings of more than

ten individuals. See Mayor’s Order 2020-067 (May 27, 2020).

       3.        In the wake of ongoing protests, Mayor Bowser put a curfew in place on June 1,

2020, effective 7:00 p.m. that evening, “to protect the safety of persons and property in the

District.” See Mayor’s Order 2020-069 (June 1, 2020).

       4.        On the afternoon of June 1, 2020, protesters descended upon the District of

Columbia (the District), and across the Nation, in response to the deaths of George Floyd and other

unarmed African Americans during interactions with law enforcement. See, e.g., Dalton Bennett,
         Case 1:20-cv-01519-TNM Document 29-2 Filed 07/13/20 Page 2 of 4




et al., The crackdown before Trump’s photo op: How law enforcement cleared protesters outside

the     White       House,       Wash.        Post.       (June     8,     2020),       available      at

https://www.washingtonpost.com/investigations/2020/06/08/timeline-trump-church-photo-op/.

        5.      At approximately 6:30 p.m. on June 1, 2020, peaceful protesters were forcibly

removed from Lafayette Square so that President Donald Trump could walk from the White House

to Saint John’s Episcopal Church for a photo opportunity. Id.

        6.      While they were attempting to clear Lafayette Square, members of the D.C.

National Guard, military police and other federal law enforcement officers fired chemical agents,

rubber bullets and flash canisters on peaceful protesters. Id.

        7.      Shortly before he appeared at Saint John’s Episcopal Church, President Trump

made a speech in the White House Rose Garden in which he stated: “I have strongly recommended

to every governor to deploy the National Guard in sufficient numbers that we dominate the streets,”

and “[if] a city or a state refuses to take the actions that are necessary to defend the life and property

of their residents, then I will deploy the United States military and quickly solve the problem for

them.” Statement by the President, www.whitehouse.gov (June 1, 2020), available at

https://www.whitehouse.gov/briefings-statements/statement-by-the-president-39/.

        8.      In response to the events of June 1, 2020, Mayor Bowser directed that a mural with

the words “BLACK LIVES MATTER” be painted on 16th Street, N.W. in the District, close to

where federal law enforcement officers had used force on peaceful protesters. Declaration of John

Falcicchio (Falcicchio Decl.) ¶ 7.

        9.      In response to the events of June 1, 2020, Mayor Bowser directed that portions of

16th Street, N.W. in the District be symbolically named “Black Lives Matter Plaza.” Id. ¶ 7.




                                                      2
         Case 1:20-cv-01519-TNM Document 29-2 Filed 07/13/20 Page 3 of 4




        10.     The Black Lives Matter mural was painted by MuralsDC, a program within the

D.C. Department of Public Works. Id. ¶ 8.

        11.     MuralsDC has commissioned dozens of murals throughout the District, on both

public and private property, that are designed to reflect the character of the community. See Our

Mission, MuralsDC Project, available at http://muralsdcproject.com/our-mission/.

        12.     A group of eight MuralsDC artists and five apprentices met early in the morning of

June 5, 2020 to start painting the Black Lives Matter mural. Falcicchio Decl. ¶ 8.

        13.     Throughout the morning of June 5, 2020, dozens of local residents and D.C.

government employees joined MuralsDC’s artists and apprentices to help paint the Black Lives

Matter mural. Id. ¶ 8

        14.     The Black Lives Matter mural was completed at approximately 11:30 a.m. on June

5, 2020. Id. ¶ 9.

        15.     On June 5, 2020, at the direction of the Mayor, employees within the District

Department of Transportation (DDOT) made street signs bearing the symbolic name “Black Lives

Matter Plaza.” Id. ¶ 9.

        16.     On the morning of June 5, 2020, DDOT staff placed street signs bearing the

symbolic name “Black Lives Matter Plaza” at each corner of 16th Street where it intersects with

H Street, K Street and I Street. Id. ¶ 9.

        17.     To complete the symbolic naming process, DDOT staff drafted legislation for the

Council of the District of Columbia to designate the areas where they had placed street signs

“Black Lives Matter Plaza.” Id. ¶ 10.

        18.     Legislation to symbolically designate “Black Lives Matter Plaza” was introduced

on Monday, June 8, 2020. Id. ¶ 10.



                                                3
        Case 1:20-cv-01519-TNM Document 29-2 Filed 07/13/20 Page 4 of 4




        19.   On June 9, 2020, the Council enacted legislation to symbolically designate “Black

Lives Matter Plaza.” Id. ¶ 10; see PR 23-428, Coronavirus Support Clarification Emergency

Declaration Resolution of 2020, § 2(e), available at https://lims.dccouncil.us/Legislation/PR23-

0827.

Dated: July 13, 2020.               Respectfully submitted,

                                    KARL A. RACINE
                                    Attorney General for the District of Columbia

                                    TONI MICHELLE JACKSON
                                    Deputy Attorney General
                                    Public Interest Division

                                    /s/ Fernando Amarillas
                                    FERNANDO AMARILLAS [974858]
                                    Chief, Equity Section

                                    /s/ Pamela A. Disney
                                    PAMELA A. DISNEY [1601225]
                                    GAVIN N. PALMER [1619264]
                                    Assistant Attorneys General
                                    441 Fourth Street, N.W., Suite 630 South
                                    Washington, D.C. 20001
                                    (202) 807-0371
                                    (202) 730-1470 (fax)
                                    pamela.disney@dc.gov

                                    Counsel for Defendant




                                               4
